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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN


 JOHN DOE,

        Plaintiff,
 v.                                                               Hon. Gordon J. Quist

 NORTHERN MICHIGAN UNIVERSITY,                                    Case No. 2:18-cv-00196

        Defendant.
 ________________________________/

                     ORDER REGARDING SETTLEMENT CONFERENCE

       IT IS HEREBY ORDERED:

       An early settlement conference is scheduled for July 10, 2019, at 2:00 PM before

the Honorable Ellen S. Carmody, 664 Federal Building, 110 Michigan, N.W., Grand

Rapids, Michigan.

       1.      Persons Required to Attend. Unless excused by a showing of good cause,

the attorney who is to conduct the trial shall attend the settlement conference,

accompanied by a representative of the party with full settlement authority. Both shall

attend in person. The person with settlement authority must come cloaked with authority

to accept, without further contact with another person, the settlement demand of the

opposing party. An insured party shall also appear by a representative of the insurer who

is authorized to negotiate and to settle the matter (within policy limits) up to the amount

of the opposing parties’ existing settlement demand. W.D.Mich. LCivR 16.8.

       2.      Settlement Letter to Opposing Party. A settlement conference is more likely

to be productive if, before the conference, the parties have had a written exchange of

their settlement proposals. Accordingly, by July 1, 2019, plaintiff’s counsel shall submit
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a written itemization of damages and settlement demand to defendant’s counsel with a

brief explanation of why such a settlement is appropriate. By July 5, 2019, defendant’s

counsel shall submit a written offer to plaintiff’s counsel with a brief explanation of why

such a settlement is appropriate. This may lead directly to a settlement. If settlement is

not achieved, plaintiff’s counsel shall e-mail, deliver, or fax copies of these letters to Judge

Carmody’s Judicial Assistant or chambers no later than July 8, 2019. Do not file copies

of these letters in the Clerk’s Office.

       3.     Confidential Settlement Letter to Court. In addition, on or before July 8,

2019, each party or their attorney shall submit to Judge Carmody’s Judicial Assistant or

chambers a confidential letter concerning settlement. A copy of this letter need not be

provided to any other party. Do not file a copy of this letter in the Clerk’s Office. All

information in the settlement letter shall remain confidential and will not be disclosed to

any other party without the approval of the writer. The confidential settlement letter shall

set forth: (a) the name and title of the party representative who will be present at the

settlement conference, with counsel’s certification that the representative will have full

authority to settle, without the need to consult with any other party; (b) a very brief

explanation of the nature of the case, including an identification of any parties added or

dismissed since the time of filing; (c) a history of settlement negotiations to date, including

all offers, demands and responses (the letter should not, however, divulge any offer made

in the context of a voluntary facilitative mediation); (d) the policy limits of any relevant

insurance coverage; (e) the limits on settlement authority given to counsel by the client;

(f) that party’s suggestions concerning the most productive approach to settlement; (g)

any other matter that counsel believes will improve the chances for settlement. Plaintiff



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shall also provide an estimated range of damages recoverable at trial and a brief analysis

of the method(s) used for arriving at the estimate(s).

       4.     Case Manager: Confidential submissions or any question concerning this

Order or the settlement conference should be directed to Cynthia Hosner, Judicial

Assistant to Magistrate Judge Ellen S. Carmody, (616) 456-2528.



Dated: June 27, 2019                                      /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         U.S. Magistrate Judge




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